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 EXHIBIT 10
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From:           Clark, Christopher G (BOS)
To:             Samuel Kaplan
Subject:        SPARTA v. PGIC (D. Mass.)
Date:           12/13/2023 8:59:00 PM
CC:             Carroll, James R (BOS); Fisher, Catherine (BOS); 'Maxwell Pritt'; Mariah Noah; Jack F.
                Dew; Victoria Scordato; Andrew Rambo
BCC:

Message:
Sam,

I’m writing further to our telephone call today concerning SPARTA’s continued request to depose Steven
Menzies.

As I explained, SPARTA continues to believe that Mr. Menzies has relevant information and that SPARTA
is entitled to take his deposition.

We can complete that deposition efficiently in half a day. In a further effort to compromise and reach
agreement, we would take the deposition on a date convenient to you and Mr. Menzies. We also would
take Mr. Menzies’s deposition at a mutually agreed location in Boston, New York City, or Washington,
D.C. – and we would agree to take the deposition at your office as we did for the PGIC corporate
deposition.

Please let us know. With the close of fact discovery upcoming, I do feel obligated to raise the issue with
the Court soon absent an agreement to produce Mr. Menzies for deposition.

Thanks,
Chris

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